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AO 2458 (Mod. D/NJ 12/06) Sheet 1 - Judgment in a Criminal Case

UNITED STATES DISTRICT COURT
District of New Jersey

UNITED STATES OF AMERICA
Vs CASE NUMBER 1:16-CR-00502-NLH-1
ADAM CURTIS WILLIAMS

Defendant.

JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)
The defendant, ADAM CURTIS WILLIAMS, was represented by CHRISTOPHER H. O'MALLEY, AFPD.

The defendant pleaded Guilty to Count 1 of the INFORMATION on 10/27/2016. Accordingly, the court has adjudicated
that the defendant is guilty of the following offense:

Title & Section Nature of Offense Date of Offense Count Number
18 U.S.C. POSSESSION OF CONTRABAND ARTICLE 5/26/2015 1
§§1791(a)(2) and

(b)(3)

As pronounced on April 17, 2017, the defendant is sentenced as provided in pages 2 through 5 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant must pay to the United States a special assessment of $100.00 for Count 1 of the
Information, which shall be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District
Court.

It is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.

bi
Signed this 27 day of April, 2017.

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Hon. Noel L. Hillman
U.S. District Judge

 

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AQ 245B (Mod. D/NJ 12/06) Sheet 2 « Imprisonment

Judgment - Page 2 of §
Defendant: ADAM CURTIS WILLIAMS

Case Number. 1:16-CR-00502-NLH-1

IMPRISONMENT

Ordered that the defendant, Adam Curtis Williams, is hereby committed to the custody of the United States Bureau

of Prisons to be imprisoned for a term of § months, to run consecutively to his current sentence under Docket. #10-00056-
001 in the Northern District of Utah.

The Court makes the following recommendations to the Bureau of Prisons: that the Bureau of Prisons designate
the defendant to a facility for service of this sentence in New Jersey.

The defendant will remain in custody pending service of sentence.

RETURN

| have executed this Judgment as follows:

 

 

 

 

Defendant delivered on To
At , with a certified copy of this Judgment.

 

United States Marshal

By

 

Deputy Marshal
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AO 2458 (Mod. DINJ 12/06) Sheet 3 - Supervised Retease

Judgment - Page 3 of 5
Defendant: ADAM CURTIS WILLIAMS
Case Number: 7:16-CR-00502-NLH-1

SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of 3 years,

Within 72 hours of release from custody of the Bureau of Prisons, you must report in person to the Probation Office
in the district to which you are released.

While on supervised release, you must not commit another federal, state, or local crime, must refrain from any
unlawful use of a controlled substance and must comply with the mandatory and standard conditions that have been adopted
by this court as set forth below.

You musi submit to one drug test within 15 days of commencement of supervised release and at least two tests
thereafter as determined by the probation officer.

You must cooperate in the collection of DNA as directed by the probation officer

If this judgment imposes a fine, special assessment, cosis, or restitution obligation, it is a condition of supervised
release that you pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release and must comply with the following special conditions:

ALCOHOL/DRUG TESTING AND TREATMENT

You must refrain from the illegal possession and use of drugs, including prescription medication not prescribed in
your name, and the use of alcohol, and must submit to urinalysis or other forms of testing to ensure compliance. It
is further ordered that you must submit to evaluation and treatment, on an outpatient or inpatient basis, as approved
by the U.S. Probation Office. You must abide by the rules of any program and must remain in treatment until
satisfactorily discharged by the Court. You must alert all medical professionals of any prior substance abuse history,
including any prior history of prescription drug abuse. The U.S. Probation Office will supervise your compliance with
this condition.

MENTAL HEALTH TREATMENT

You must undergo treatment in a mental health program approved by the U.S. Probation Office until discharged by
the Court. As necessary, said treatment may also encompass treatment for gambling, domestic violence and/or
anger management, as approved by the U.S. Probation Office, until discharged by the Court. The U.S. Probation
Office will supervise your compliance with this condition.
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A 245B (Mod. DIN! 12406) Sheel 3a - Supervised Relaase

Judgment - Page 4 of 5
Defendant: ADAM CURTIS WILLIAMS
Case Number: 1:16-CR-00502-NLH-1

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.

1) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
within a different time frame.

2) After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3) You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
permission from the court or the probation officer.

4) You must answer truthfully the questions asked by your probation officer.

5} You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
the probation officer within 72 hours of becoming aware of a change or expected change.

6) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
view.

7) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
excuses you from doing so. If you do not have fulltime employment you must try to find full-time employment, unless
the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
(such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
change.

8) You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
the permission of the probation officer.

9) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (ie...
anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
person such as nunchakus or tasers).

14) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization), the probation
officer may require you to notify the person about the risk and you must comply with that instruction. The probation
officer may contact the person and confirm that you have notified the person about the risk.
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AO 2458 (Mod. DAN 12/06) Sheet 3a- Supervised Release

Judgment - Page 5 of §
Defendant: ADAM CURTIS WILLIAMS
Case Number: 1:16-CR-00502-NLH-1

STANDARD CONDITIONS OF SUPERVISION

13) You must fellow the instructions of the probation officer related to the conditions of supervision.

Upon a finding of a violation of probation or supervised release, | understand that the Court may (1) revoke supervision
or (2) extend the term of supervision and/or modify the conditions of supervision.

These conditions have been read to me. | fully understand the conditions, and have been provided a copy of them.

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; You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his ;
' associate Probation Officers. '
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(Signed)
Defendant Date

 

U.S. Probation Officer/Designated Witness Date
